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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                05/14/2019 02:45 PM
                                                                COURTROOM 6D, 6th Floor
HONORABLE CYNTHIA JACKSON
CASE NUMBER:                                                    FILING DATE:
6:18-bk-05179-CCJ                        7                        08/24/2018
Chapter 7
DEBTOR:                Bassam Alkowni
                       Haseena Khan
DEBTOR ATTY:           J Bourne
TRUSTEE:               Arvind Mahendru
HEARING:
Motion by Trustee to Sell Property Free
and Clear of Liens. Property description:
10436 Sparkle Ct, Orlando, FL (Doc #41)
Note:
Order Granting Agreed Motion for Turnover
Property specifically: 10436 Sparkle Ct,
Orlando, FL (Doc #39) entered 4/5/19
Prior Case(s):
13-10187, Chapter 13 filed in California
Southern Bankruptcy Court on 10/17/2013 ,
Dismissed for Other Reason on 01/02/2014

APPEARANCES:: Julie Posteraro: IRS Atty; Arvind Mahendru: Chp 7 Trustee

RULING: Motion by Trustee to Sell Property Free and Clear of Liens. Property description:
10436 Sparkle Ct, Orlando, FL (Doc #41) - Agreed Order by Mahendru. ***Note: Order to be reviewed by IRS Atty prior to
submitting.***   (WC)
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                   Case Number 6:18-bk-05179-CCJ                     Chapter 7
